         Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 1 of 61




 1   BURSOR & FISHER, P.A.
     L. Timothy Fisher (State Bar No. 191626)
 2   Sean L. Litteral (State Bar No. 331985)
     Julia K. Venditti (State Bar No. 332688)
 3   1990 North California Boulevard, Suite 940
     Walnut Creek, CA 94596
 4   Telephone: (925) 300-4455
     Facsimile: (925) 407-2700
 5   Email: ltfisher@bursor.com
              slitteral@bursor.com
 6           jvenditti@bursor.com

 7   Attorneys for Plaintiff

 8
                                   UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10

11   FAITH NORMAN, individually and on behalf of    Case No.
     all others similarly situated,
12
                           Plaintiff,               CLASS ACTION COMPLAINT
13
            v.
14                                                  JURY TRIAL DEMANDED
     GERBER PRODUCTS COMPANY,
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                           Defendant.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
         Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 2 of 61




 1          Plaintiff Faith Norman (“Plaintiff”) brings this action on behalf of herself and all others

 2   similarly situated against Defendant Gerber Products Company (“Gerber” or “Defendant”).

 3   Plaintiff makes the following allegations pursuant to the investigation of her counsel and based

 4   upon information and belief, except as to the allegations specifically pertaining to herself, which is

 5   based on personal knowledge.

 6                                      NATURE OF THE ACTION

 7          1.      This is a putative class action lawsuit against Defendant for cheating consumers by

 8   uniformly advertising, marketing, and selling nutritional food products under the brand name

 9   “Gerber” (collectively, the “Products,” enumerated below), each of which prominently features the

10   representations “Non-GMO,” or similar claims related to the absence of ingredients derived from

11   genetically modified organisms (“GMO”) (collectively, the “Non-GMO Claims”).               However,

12   contrary to Defendant’s claims, each of the purportedly “Non-GMO” Products do, in fact, contain

13   ingredients that are derived from genetically modified food sources and therefore constitute GMOs.

14          2.      Defendant prominently labels every Product sold in the United States as “Non-

15   GMO.” Defendant does this because consumers perceive all natural foods as better, healthier, and

16   more wholesome. Indeed, in recent years, consumers have become significantly more aware and

17   sensitive to genetically modified organisms (“GMOs”) in their food. Many consumers want to

18   avoid GMOs for a variety of reasons, including, but not limited to, the following: (1) health risks

19   associated with ingesting foods derived from genetically modified (“GM”) crops;1 (2) concerns of

20   the ingestion of pesticides and other toxins; (3) interest in promoting sustainable living and local

21   farming; and (4) negative environmental effects associated with growing GM crops. As a result,

22   many consumers, including Plaintiff, try to buy products that are not derived from GMOs, and a

23   movement has developed demanding consumer products that are non-GMO products. Thus, the

24   market for all natural foods has grown rapidly in recent years, and Defendant seeks to take

25   advantage of this trend through false advertising.

26   1
      GM crops such as canola, corn, and soy, are crops whose genetic material has been altered by
27   humans using genetic engineering techniques. The World Health Organization defines GMOs,
     which include GM crops, as “organisms in which the genetic material (DNA) has been altered in a
28   way that does not occur naturally.” Accordingly, GM crops are not natural, but man-made.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        1
         Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 3 of 61




 1          3.     But Defendant’s Non-GMO Claims concerning the Products are false, misleading,

 2   and deceptive to consumers, who reasonably understand such claims to mean that a product was

 3   produced without genetic engineering and its ingredients are not derived from GMOs.

 4   Specifically, Plaintiff and consumers reasonably understand Defendant’s Non-GMO Claims to

 5   mean that Defendant’s Products are 100% free of ingredients derived from GM crops or food

 6   sources, genetically engineered in a laboratory setting through the use of biotechnologies, or

 7   sourced from animals that have been raised on GMO feed. Yet, contrary to Defendant’s claims,

 8   Defendant’s Products are in fact loaded with ingredients derived from GM-crops such as corn and

 9   soy, and many of Defendant’s Products also contain protein and/or dairy sources derived from

10   cows raised on GMO feed. Defendant’s Products also contain numerous artificial ingredients that

11   were genetically engineered in a laboratory setting using biotechnologies.          Accordingly,

12   Defendant’s Non-GMO Claims are misleading and highly deceptive to reasonable consumers.

13          4.     The Products at issue include all Gerber-branded food or drink products that purport

14   to be “NON GMO” on the labeling and/or packaging, including, without limitation, Gerber

15   Products from the following product lines, products, and/or flavors: Gerber Good Start Soy 2

16   Powder Infant & Toddler Formula; Gerber Good Start Soy Infant Formula (including powder,

17   ready to feed, and concentrated liquid formats); Gerber Good Start Gentle Infant Formula; Gerber

18   Good Start GentlePro Infant Formula (including powder, ready to feed, and concentrated liquid

19   formats); Gerber Good Start GentlePro 2 Powder Infant Formula; Gerber Good Start SoothePro

20   Powder Infant Formula; Gerber Good Start Gentle Supreme A2 Powder Infant Formula; Gerber

21   Good Start Gentle Supreme A2 Toddler Drink; Gerber Good Start Extensive HA Powder Infant

22   Formula; Gerber Good Start Grow Powder Toddler Drink; Gerber Supported Sitter 1st Foods,

23   DHA & Probiotic Baby Cereal; Gerber Sitter 2nd Foods, Probiotic Baby Cereals (including

24   Oatmeal Banana, Oatmeal Peach Apple, Rice Banana Apple, and Powerblend varieties); Gerber

25   Oatmeal & Barley Toddler Cereals (including Apple Cinnamon and Bananas & Cream varieties);

26   Gerber Toddler Pouches (various flavors); Gerber Lil’ Crunchies   (various    flavors);    Gerber

27   Teether Wheels, Apple Harvest Crawler Snack; and Gerber Mealtime Harvest Bowls (including

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                    2
         Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 4 of 61




 1   Garden Tomato, Spanish Style Sofrito, and Pesto varieties) (collectively, the “Products”). As

 2   noted above, each of these purportedly “Non-GMO” Products contain GMOs.

 3          5.     By prominently featuring the Non-GMO Claims on the labeling and/or packaging of

 4   its Products, Defendant intends to induce consumers to pay more than they would pay for other

 5   comparable products that are not falsely labeled with Non-GMO Claims, and consumers are so

 6   induced as a result of these claims. Thus, although (as discussed below) the Products have been a

 7   marketing sensation and an unmitigated financial success, Defendant’s success has been the result

 8   of fraudulent, unlawful, and unfair business practices in the marketing and sale of the Products.

 9   Defendant’s misleading representations and unfair business practices described herein are plainly

10   improper and unacceptable—particularly for a company that touts that “You asked, we listened.

11   GERBER GOOD START formulas are now all non-GMO.”2

12          6.      For the foregoing reasons, Plaintiff brings this action individually and on behalf of

13   similarly situated individuals against Defendant for: (i) violation of California’s Unfair

14   Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.; (ii) violation of California’s

15   False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500, et seq.; (iii) violation of

16   California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750, et seq.; (iv)

17   breach of express warranty; (v) breach of the implied warranty of merchantability; (vi) unjust

18   enrichment / restitution; (vii) negligent misrepresentation; (viii) fraud; and (ix) fraudulent

19   misrepresentation.

20                                              PARTIES

21          7.     Plaintiff Faith Norman is a natural person and a citizen of California who resides in

22   San Jose, California. At multiple points during 2021, Ms. Norman purchased Defendant’s Gerber

23   Good Start 2 from a brick-and-mortar Safeway retail store and a brick-and-mortar Walmart retail

24   store located in San Jose. Prior to her purchase, Ms. Norman reviewed the labeling, packaging,

25   and marketing materials of her Products and saw the false and misleading claims that, among other

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     2
27    Layla Katiraee and Kavin Senepathy, “Gerber Formula Goes Non-GMO, But Not Really,”
     Forbes (Feb. 22, 2016), https://www.forbes.com/sites/kavinsenapathy/2016/02/22/gerber-formula-
28   goes-non-gmo-but-not-really/?sh=60d556437e79 (last accessed Dec. 20, 2021).


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      3
           Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 5 of 61




 1   things, the Products are purportedly “Non-GMO” infant formulas. Ms. Norman understood these

 2   claims to be representations and warranties by Defendant that the Products are free of all traces of

 3   GMOs, do not contain ingredients derived from GM crops, and do not contain any other synthetic

 4   ingredients created in a laboratory through the use of biotechnologies. Ms. Norman reasonably

 5   relied on these representations and warranties in deciding to purchase the Products, and these

 6   representations were part of the basis of the bargain in that she would not have purchased the

 7   Products, or would not have purchased them on the same terms, if the true facts had been known.

 8   As a direct result of Defendant’s material misrepresentations and omissions, Ms. Norman suffered,

 9   and continues to suffer, economic injuries.

10           8.      Defendant Gerber Products Company (“Defendant” or “Gerber”) is a Michigan

11   corporation with its principal place of business in Arlington, Virginia. Defendant sells its baby

12   food and infant formulas under the eponymous “Gerber” brand name. Gerber’s baby food products

13   and infant formulas are sold nationwide, including throughout the State of California.

14                                      JURISDICTION AND VENUE

15           9.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

16   1332(d) because there are more than 100 class members and the aggregate amount in controversy

17   exceeds $5,000,000.00, exclusive of interest, fees, and costs, and at least one Class member is a

18   citizen of a state different from Defendant.

19           10.     This Court has personal jurisdiction over Defendant because Defendant

20   purposefully availed itself of this forum by conducting substantial business within California such

21   that Defendant has significant, continuous, and pervasive contacts with the State of California.

22           11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant

23   does substantial business in this District and a substantial part of the events giving rise to Plaintiff’s

24   claims took place within this District, as Plaintiff purchased the Products in this District and is a

25   citizen and resident of this District.

26   ///

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                            4
         Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 6 of 61




 1                                       FACTUAL ALLEGATIONS

 2          A.      Background on Genetically Modified Organisms (“GMOs”)

 3          12.     The World Health Organization defines genetically modified organisms (“GMOs”)

 4   as “organisms in which the genetic material (DNA) has been altered in a way that does not occur

 5   naturally.”3

 6          13.     Genetic modification (“GM”), also called genetic engineering, biotechnology, or

 7   bioengineering, is the process scientists use to make GMOs. It is an artificial laboratory-based

 8   technique that is specifically designed to enable the transfer of genes between unrelated or distantly

 9   related organisms. It includes any process in which genetic material is artificially manipulated in a

10   laboratory, and may involve creating combinations of plant, animal, bacteria, and virus genes that

11   do not occur in nature or through traditional crossbreeding methods. Genetic engineering also

12   includes newer forms of biotechnology such as CRISPR, TALEN, RNAi, ODM, and gene drives.

13   These techniques confer new properties or “traits” that are not naturally present in the organism.

14   When incorporated into the DNA of an organism, genetically modified genes modify the functional

15   characteristics – the traits – of an organism.

16          14.     GM crops, such as canola, corn, and soy, are crops whose genetic material has been

17   altered by humans using genetic engineering techniques. GM crops are not natural, but man-made.

18   There are wide-ranging controversies related to GM crops, including health risks from ingesting

19   GM foods and negative environmental effects associated with growing GM crops.

20          15.     As of 2021, approximately 93% of canola, 92% of corn, and 94% of soybeans

21   grown in the United States are genetically modified, as are 95% of sugar beets.4

22

23   3
       World Health Organization (WHO), 20 questions on genetically modified foods (2002), available
     at http://www.who.int/foodsafety/publications/biotech/20questions/en/index.html.
24   4
       See Center for Food Safety, “About Genetically Engineered Foods,”
25   https://www.centerforfoodsafety.org/issues/311/ge-foods/about-ge-
     foods#:~:text=Center%20for%20Food%20Safety%20seeks,human%20health%20and%20the%20e
26   nvironment (last visited July 19, 2021); see also https://www.nestleusa.com/gmos/about-
     genetically-modified-crops-in-the-
27   us#:~:text=Approximately%2093%20percent%20of%20the,is%20from%20genetically%20modifie
     d%20seed.&text=Corn%20is%20the%20most%20widely,is%20from%20genetically%20modified
28   %20seeds (last visited December 21, 2021).


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        5
         Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 7 of 61




 1                  (a)    Corn (Approx. 92% of U.S. crop is GMO) – Corn is genetically modified to

 2   be resistant to glyphosate or glufosinate herbicides.         Most GM-corn is used for human

 3   consumption. In food products, GM-corn crop is used to produce corn flour, meal, oil, starch,

 4   modified food starch, corn gluten, corn syrup, and sweeteners such as fructose, dextrose, glucose

 5   and modified come from corn. Genetically modified corn has been linked to health problems,

 6   including weight gain and organ disruption.

 7                  (b)    Soybeans (Approx. 94% of U.S. crop is GMO) – Soybeans are the most

 8   important crop worldwide for producing oil and protein. Soybean and its processed derivatives are

 9   used in a multitude of food, groceries, supplements, and cosmetics. Additionally, the remaining

10   soy mass is used as protein-rich animal feed for fish, poultry, pigs, and beef. Tolerance to

11   herbicides is by far the most important commercial characteristic of GM-soybeans. So, not only

12   are soybeans a genetically engineered food crop, but farmers are also forced to use more and more

13   pesticides to combat adaptive super bugs and super weeds, thereby creating additional health

14   concerns for consumers.

15                  (c)    Sugar Beets (Approx. 95% of U.S. crop is GMO) – Sugar Beets are

16   genetically engineered to be RoundUp ready, like corn. GM-sugar beets are used in refined sugar

17   production, and the leftover fiber is used to feed animals at Concentrated Animal Feeding

18   Operations (“CAFO”).5

19          16.     Thus, any of the ingredients derived from domestically produced canola, corn, peas,

20   rice, or soybeans are highly likely to contain GMOs, notwithstanding Defendant’s Non-GMO

21   Claims or similar product label representations to the contrary.

22          B.      “Non-GMO” Is A Highly Profitable Descriptor

23          17.     Product packaging is a significant vehicle through which the purveyors of natural

24   and organic food products communicate material that they believe, and reasonably expect, to be

25   important to consumers in making purchasing decisions.

26
     5
       See GMO 101, A Practical Guide: Potential Sources of Genetically Engineered Ingredients in
27   Food, at 244; id. (“Anything not listed as 100% cane sugar is suspect. Look for organic and non-
     GMO sweeteners, candy and chocolate products made with 100% cane sugar, evaporated cane
28   juice or organic sugar, to avoid GM beet sugar.”).


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                    6
         Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 8 of 61




 1          18.     The health food market is no longer a niche market.         Consumers have been

 2   increasingly health conscious since the 1970s. They seek out and covet food products that are

 3   natural and healthy and look for labels that convey these qualities in the foods they choose to

 4   purchase. According to Natural Foods Merchandiser, a leading information provider for the

 5   natural, organic, and health food industry, the natural food industry enjoyed over $166 billion in

 6   revenue in 2019. This means that since 2010, the natural food industry has more than doubled in

 7   size since it hit $81 billion in 2010. Consumer demand for non-GMO foods is expected to rapidly

 8   increase into the next decade as well.

 9          19.     The designation “non-GMO” appeals to consumers for its health attributes. This

10   designation also appeals to reasonable consumers’ interest in protecting the environment,

11   promoting sustainable living and local farming, and minimizing people’s and the Earth’s exposure

12   to pesticides and other toxins.

13          20.     Any doubt about the money generating power of natural and healthy foods is

14   dispelled by the entry and success of large conglomerates in the health food market. For example,

15   the well-known Kashi brand is owned by Kellogg, while PepsiCo has recently acquired the natural

16   food company, Be&Cheery, for $705 million. Additionally, the Odwalla brand has flourished and

17   expanded significantly since its purchase by the Coca-Cola Company in 2001 for $181 million.

18          21.     Indeed, Defendant has acknowledged that, “You asked, we listened. GERBER

19   GOOD START formulas are now all non-GMO.”6 Building on this point, Defendant remarked

20   that “[b]ased on feedback from parents looking for more non-GM product options, we decided to

21   make our formulas without the use of genetically modified ingredients.”7

22          C.      Consumer’s Understanding of GMOs and Non-GMO Claims

23          22.     While the abbreviated term “GMO” may generally refer to genetically modified

24   organisms, when used in food marketing and labeling, terms like “non-GMO” and “GMO free”

25   (which are reasonably understood by consumers to be synonymous8) have a broader meaning to

26   6
       Katiraee et al., supra note 2.
     7
27     Id.
     8
       In November 2015, the Food and Drug Administration (“FDA”) issued guidelines on the labeling
28   of foods derived from genetically engineered plants and grouped the terms “GMO free,” GE free,”


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                    7
         Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 9 of 61




 1   consumers in that they convey food products that do not contain and are not sourced or derived

 2   from genetically engineered foods and methods, such as genetically engineered corn that ends up in

 3   corn syrup and beef from a cow that was raised on a diet of genetically engineered or modified

 4   food. Consumers have this understanding because of educational efforts by “non-GMO” consumer

 5   information sources and certification agencies as well as government authorities. The successful

 6   results of their efforts to develop a consumer understanding of “non-GMO” and related terms in

 7   this manner are demonstrated by market research surveys as discussed below.

 8          23.    The Non-GMO Project, for example, serves as one of the leading educational

 9   providers for consumers given its unique status as North America’s “only third party verification

10   and labeling for non-GMO food and products.” In response to increased use of GMOs, the Non-

11   GMO Project was formed in the early 2000s with the goal of “creating a standardized meaning of

12   non-GMO for the North American food industry.” Because of the Non-GMO Project’s work with

13   companies and food producers, through its Independent Verification Program, its Non-GMO

14   Project Verified seal is now found on over 50,000 food products and with 3,000 participating

15   brands.9 Further, it makes significant educational outreach efforts through its Non-GMO Project

16   and LivingNonGMO.org websites. Combined, these websites are host to over 200 million visits a

17   year. Consumers thus readily and understandably associate the terms “GMO”, “non-GMO,” and

18   similar marketing claims, consistently with definitions set by the Non-GMO Project.

19
     “does not contain GMOs,” “non-GMO” “and similar claims” together. U.S. Food and Drug
20   Administration, Guidance for Industry: Voluntary Labeling Indicating Whether Foods Have or
     Have Not Been Derived from Genetically Engineered Plants (Mar. 2019), available at
21   http://www.fda.gov/food/guidanceregulation/guidancedocumentsregulatoryinformation/ucm05909
     8.htm#references (emphasis in original). The FDA also warned that the term “free” that is
22   associated with these similar claims “conveys zero or total absence” of ingredients derived through
     biotechnology and that these type of claims are “problematic” due to the challenges of
23   substantiating such claims. Id. Thus, the FDA took care to appropriately group these commonly
     used “non-GMO” related labeling terms in the same fashion consumers do, demonstrating that
24   “non-GMO,” “does not contain GMOs,” and “GMO free” have an identical and synonymous
     meaning to consumers. The FDA also points out that the while the “O” in the acronym GMO
25   generally refers to the word “organism” because an entire organism is generally not contained in a
     food (microorganisms in the dairy product yogurt being a cited exception), GMO is generally “read
26   as meaning that the food was not derived from a genetically modified organism, such as a plant that
     has been genetically engineered.” Id. (emphasis in original).
27   9
       See The Non-GMO Project, Verification FAQs, https://www.nongmoproject.org/product-
28   verification/verification-faqs/ (last accessed Oct. 18, 2021).


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     8
          Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 10 of 61




 1          24.    Accordingly, consumers understand that any product or ingredient that is

 2   contaminated by or with GMOs is not “non-GMO.” And, the Non-GMO Project specifically

 3   extends its definition of “Non-GMO or No-GM” to any “plant, animal, or other organism whose

 4   genetic structure has not been altered by gene splicing” and to “a process or product that does not

 5   employ GM processes or inputs.”10 Per the consumers’ leading industry source, the Non-GMO

 6   Project states that “animal feed commonly contains High-Risk Inputs” in the form of genetically

 7   modified or engineered feed. As a result, animal food products (such as meat, poultry, and dairy)

 8   are included on the Non-GMO Project’s list of High-Risk ingredients. For animal products to be

 9   properly labeled as “non-GMO,” they must meet a number of stringent requirements, including that

10   the animals and poultry be fed seed that is less than 5% GMO for various periods of the animal’s

11   life (including the entire life for meat animals other than poultry).     Other GMO awareness

12   campaigns similarly advise consumers that to avoid GMOs they should avoid “meat, eggs, and

13   dairy products that have eaten GMO feed” furthering the consumer understanding that “non-GMO”

14   and related marketing, labeling, and advertising claims indicate to consumers that the animal

15   products were not raised on genetically modified feed.11

16          25.    The federal government has also taken steps to adopt standards that assist

17   companies and consumers with understanding that “non-GMO” labeling means that animal

18   products are not raised on GMO derived feed. For example, in mid-2013, the U.S. Department of

19   Agricultures’ Food Safety and Inspection Service, tasked with regulating the safety and proper

20   labeling of meat, poultry, and egg products, approved the Non-GMO Project Verified label claim

21   for meat and liquid egg products.12 These government efforts are intended to inform consumers

22   that the animal was not raised on a diet that consists of genetically engineered ingredients, like

23
     10
24      The Non-GMO Project, Non-GMO Project Standard (Dec. 30, 2020), at 24, available at
     https://www.nongmoproject.org/wp-content/uploads/Non-GMO-Project-Standard-Version-16.pdf
25   (last accessed Oct. 18, 2021).
     11
        GMO Awareness, Overview, https://gmo-awareness.com/avoid-list/overview/ (last accessed Oct.
26   18, 2021).
     12
27      See Food Liability Law, USDA Approves Non-GMO Label Claim for Meat and Egg Products
     (Jul. 11, 2013), http://www.foodliabilitylaw.com/2013/07/articles/legislation-and-regulation/food-
28   labeling/usda-approves-non-gmo-label-claim-for-meat-and-egg-products/.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     9
          Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 11 of 61




 1   corn, soy, and alfalfa. Accordingly, consumers understandably associate advertising or labeling

 2   with the terms “non-GMO” or “GMO free” with products whose ingredients have not been tainted

 3   by GMOs or sourced from animals fed with GMOs.

 4          26.    Market research also supports the fact that consumers understand and expect that

 5   advertisements and labeling of “non-GMO,” “GMO free,” or related claims have similar meanings

 6   and would not apply to foods sourced from animals fed with a GMO or a genetically engineered

 7   diet. For example, a poll of Ohio voters by Public Policy Polling in December 2015 indicated that

 8   76% of consumers would “[e]xpect that a dairy product labeled as “non-GMO” was made using

 9   milk from cows that had not been fed any genetically modified feed.”13 Only 11% of respondents

10   would not expect such a product to come from cows fed only with non-GMO feed.14

11          27.    As these poll results indicate, “consumer awareness of GMOs is almost universal at

12   97%.”15 Consumers reasonably understand food advertised or labeled as “non-GMO,” “GMO

13   free,” “does not contain GMOs,” or other similar claims only apply to food that (1) does not

14   contain GMOs and is not sourced from, or derived from any GMOs; and (2) does not contain

15   animal products such as meat, poultry, pork and dairy that have a diet of GMO feed, GMO

16   contaminated feed and/or genetically modified or engineered feed. Consumers also understand that

17   the term “food” applies broadly to food and drink, which is also how the FDA defines it. 21

18   U.S.C. § 321(f)(1).

19          D.     Consumers Perceive GMOs As Negative And Unhealthy

20          28.    Today, genetically modified crops are used in biological and medical research,

21   production of pharmaceutical drugs, experimental medicine, and agriculture.       Such crops are

22   engineered to, among other things, resist certain pests, diseases, or environmental conditions,

23
     13
24      See The Mellman Group, “Nearly All Voters Continue to Want GMO Foods Labeled,” (Nov. 23,
     2015) http://4bgr3aepis44c9bxt1ulxsyq.wpengine.netdna-cdn.com/wp-
25   content/uploads/2015/12/15memn20-JLI-d6.pdf (last accessed Oct. 18, 2021).
     14
        See also Center for Food Safety, U.S. Polls On GE Food Labeling (listing other relevant surveys
26   regard GMO food labeling and consumer preferences).
     15
27      “Consumer Awareness of GMOs Continues to Soar,” Non-GMO Project (Aug. 7, 2018),
     https://www.nongmoproject.org/blog/consumer-awareness-of-gmos-continues-to-soar/ (last
28   accessed Oct. 23, 2021).


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                   10
          Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 12 of 61




 1   reduce spoilage, increase size and yield, taste and look better, and resist chemical treatments. In

 2   the United States, 94% of the planted area of soybeans, 95% of cotton, and 92% of corn are

 3   genetically modified varieties.16

 4          29.     Since 1996, farmers in animal agriculture (including poultry) have optimized GMOs

 5   by feeding genetically modified grains (corn) and oilseeds (soybean) to their flocks and herds.17

 6   Because more than 90% of the corn and soybeans in the United States are raised from genetically

 7   modified seeds, almost all corn and soybean used in conventional livestock and poultry feed is

 8   genetically modified. In addition, other genetically modified crops such as cotton, canola, sugar

 9   beets, and alfalfa are commonly used in animal feed.18 Consequently, most meat and dairy

10   products are contaminated with GMOs due to the feed consumed by livestock and poultry and

11   cannot be labeled as “non-GMO” without deceiving consumers. Because the safety or health

12   impact of food and other goods derived from genetically modified crops has been and continues to

13   be hotly debated19, it is no surprise that according to a Pew Research Center survey, only 37% of

14   the general public believes that “it is generally safe to eat genetically modified (GM) foods.”20

15          30.     While the potential environmental and health impact of GMOs has been the subject

16   of much scrutiny and debate within the food and science industries, Defendant and other businesses

17

18
     16
19      United States Department of Agriculture Economic Research Service, Adoption of Genetically
     Engineered Crops in the U.S.(July 9, 2015), http://www.ers.usda.gov/data-products/adoption-of-
20   genetically-engineered-crops-in-the-us.aspx.
     17
        See National Chicken Council, Genetically Modified Organism (GMO) Use in the Chicken
21   Industry (July 5, 2013), http://www.nationalchickencouncil.org/genetically-modified-organism-
     gmo-use-in-the-chicken-industry/.
22   18
        See GMO Inside Blog, How Pervasive are GMOs in Animal Feed? (July 16, 2013),
23   http://gmoinside.org/gmos-in-animal-feed/.
     19
        Compare, e.g., European Commission, A Decade of EU-funded GMO Research (2001-2010),
24   http://ec.europa.eu/research/biosociety/pdf/a_decade_of_eu-funded_gmo_research.pdf (last
     accessed Mar. 11, 2016), with Non GMO Project, GMO Facts,
25   http://www.nongmoproject.org/learn-more/ (last accessed Mar. 11, 2016) (“Meanwhile, a growing
     body of evidence connects GMOs with health problems, environmental damage and violation of
26   farmers’ and consumers’ rights.”).
     20
27      Pew Research Center, Public and Scientists’ Views on Science and Society (Jan. 29, 2015),
     https://www.pewresearch.org/science/2015/01/29/public-and-scientists-views-on-science-and-
28   society/ (last visited Oct. 28, 2021).


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        11
          Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 13 of 61




 1   know customers attach an unhealthy, negative perception towards them.21 Defendant’s Non-GMO

 2   Claims are specifically intended to manipulate consumers into avoiding GMOs, including animal

 3   food products raised on GMO feed, because of health and environmental concerns.

 4           31.    As a result of GMO controversy and consumer concerns, companies have created an

 5   $11 billion (and fast growing) market for non-GMO products and consumers are willing to pay the

 6   higher costs associated with non-GMO products due to the negative perception of genetically

 7   modified foods and because GMO-free ingredients are often more expensive.22 And, there is no

 8   dispute that GMO labeling is a material and important issue to consumers. In a November 2015

 9   poll, 89% of likely voters in 2016 would support labeling of GMO foods. And, 77% percent of

10   those “strongly favored” such a requirement. These poll results clearly show that Americans want

11   to know if the food they are purchasing are non-GMO. Thus, there is no dispute that GMO

12   labeling is a material and important issue to consumers.23

13           E.     Defendant’s False, Misleading, And Deceptive Non-GMO Claims

14           32.    In 2018, sales of baby food and infant formula amounted to $6.9 billion, a level that

15   has more or less remained unchanged over the past three years.24          That same year, Gerber

16   accounted for approximately 13% of the total sales in baby food and infant formula, or roughly

17   $897 million.25 Accordingly, Defendant has an enormous incentive to further its market share in

18   this area.

19
     21
20      See, e.g., “Gerber’s New Look,” https://www.gerber.com/gerbers-new-look (last accessed Dec.
     21, 2021) (“Our ambition is for all Fruit & Veggie baby foods to be certified to the Non-GMO
21   Project Verified standard by 2018.”).
     22
        See Gluten Free Living, GMO Free Comes at a Price, Gluten-Free Living (Nov. 25, 2014),
22   http://www.glutenfreeliving.com/gluten-free-lifestyle/non-gmo/gmo-free-comes-at-price/; The
     Mellman Group, Inc., Voters Want GMO Food Labels Printed On Packaging,
23   http://4bgr3aepis44c9bxt1ulxsyq.wpengine.netdna-cdn.com/wp-
     content/uploads/2015/12/15memn20-JLI-d6.pdf (last accessed Oct. 18, 2021).
24   23
        The Mellman Group, Inc., Voters Want GMO Food Labels Printed On Packaging,
25   http://4bgr3aepis44c9bxt1ulxsyq.wpengine.netdna-cdn.com/wp-
     content/uploads/2015/12/15memn20-JLI-d6.pdf (last accessed Oct. 18, 2021).
26   24
        Business Wire, “Baby Food Market in the United States, 2019 Report,” (May 21, 2019),
     https://www.businesswire.com/news/home/20190531005441/en/Baby-Food-Market-in-the-United-
27   States-2019-Report---ResearchAndMarkets.com (last accessed Dec. 21, 2021).
     25
28      Id.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     12
          Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 14 of 61




 1          33.     According to one study, behind the brand name, the presence of an “Organic / Non-

 2   GMO” label on infant formulas and toddler milk represent the second foremost factor that

 3   consumers consider when making their purchases.26 Therefore, product offerings that include the

 4   Non-GMO label on baby foods and infant formulas provides a significant avenue for growth.

 5          34.     Recognizing this reality, Gerber rolled out its “Non-GMO” product line, “Gerber

 6   Good Start,” on February 10, 2016. As noted above, Defendant stated that “You asked, and we

 7   listened.”27 In line with this sentiment, Defendant states directly on its website that “All Gerber

 8   foods made without genetically engineered ingredients are now labeled with either Gerber’s Non-

 9   GMO seal or the Non-GMO Project Verified Seal, so keep an eye out!” To this point, Defendant

10   also states on its website that its “ambition is for all Fruit & Veggie baby foods to be certified to

11   the Non-GMO Project Verified standard by 2018.”

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            35.     Defendant failed to achieve this goal. Moreover, implicit in Defendant’s statement
23
     is the recognition that its own Non-GMO standard is inconsistent with that of the Non-GMO
24

25
     26
        Tassneem Rajeh, “Provision of Added Value Infant Formula And Toddler Milk To Infants and
26   Toddlers,”(2020),
     https://www.proquest.com/openview/4ca50d80afac71637c9c008cdd8daf3c/1?pq-
27   origsite=gscholar&cbl=18750&diss=y (last accessed Dec. 21, 2021).
     27
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      13
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 15 of 61




 1   Project’s standard. However, consumers are familiar with and have accepted the Non-GMO

 2   Project’s more stringent standard as to what constitutes a “GMO” and whether a product can

 3   properly be considered to be a “Non-GMO” product. But significantly, none of the Products at

 4   issue bear the Non-GMO Project Verified Seal. Instead, Defendant has created its own seal, as

 5   follows:

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13          36.     Defendant’s deceptive Non-GMO Claims (and seal) are intended to fool consumers
14   into believing that Defendant’s Products satisfy the Non-GMO Project’s stringent standards, which
15   they do not.
16          37.     In addition to manufacturing its own seal, Defendant has engaged in a multi-media
17   mass marketing and advertising campaign to inform consumers that it was going “non-GMO” since
18   approximately February 2016, through various methods including claims on its website, social
19   media, in-store signage at the brick-and-mortar retail locations where its Products are sold, and—
20   most importantly—prominent Non-GMO claims affixed to the labeling and/or packaging of its
21   Products.
22          38.     These efforts, including Defendant’s prominent use of its own Non-GMO label
23   affixed to Product packaging, are intended to further Defendant’s desire to appear as supporting
24   healthy food for infants and toddlers, thereby increasing its share of the booming baby foods and
25   infant formulas market and, correspondingly, the revenues it derives from that market.
26          39.     However, rather than manufacture infant formulas that are “Non-GMO” as
27   understood by reasonable consumers, Defendant has maintained its own “internal definition” and
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                   14
          Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 16 of 61




 1   has sought to deceive consumers by standing behind this definition rather than bringing the

 2   Products in conformity with reasonable consumers’ understanding of that term.28

 3          F.         Defendant’s Products Contain Genetically Modified Ingredients Despite Being
 4                     Marketed As “Non-GMO”
            40.        All of the Gerber Products at issue are substantially similar. All varieties are
 5
     manufactured in-house at Defendant’s factories located in Cincinnati, Ohio.29 Moreover, the labels
 6
     of all of the Gerber Products are substantially similar in that each Product contains an identical
 7
     “Non-GMO” Claim featured prominently on the front of the Product’s labeling and/or packaging.
 8
     This claim is also prominently featured on the back of the Product’s labeling just above the
 9
     Nutrients list.         However, Defendant’s Non-GMO claims are deceptive and misleading to
10
     reasonable consumers because: (1) Defendant’s Products are in fact loaded with ingredients
11
     derived from GM-crops; and (2) Defendant’s Products also contain protein and/or dairy sources
12
     derived from cows raised on GMO feed. Even worse, none of the Product labels expressly state
13
     that the Products contain GMOs, and Defendant does not adequately disclose any of this
14
     information to consumers on its Product labels or on its website.
15
                       (a)      Defendant’s Products Contain Animal Byproducts That Are Not Non-GMO:
16
     As set forth above, consumers understand the terms “non-GMO,” “GMO free,” and similar
17
     representations, to apply only to ingredients that do not come from animals fed with genetically
18
     engineered or GMO derived feed.          Defendant deceptively advertises, labels, and markets its
19
     Products as “Non-GMO” or “GMO free” even though each of the Products at issue in this case
20
     contains whey-based protein sources (among other dairy-based ingredients) – including whey
21
     protein isolate, whey protein concentrate, cultured whey protein concentrate, etc. – derived from
22
     animals (specifically, cows) that are fed with a genetically engineered or GMO-derived feed.
23
     Additionally, many Products also contain other dairy-based ingredients derived from cows raised
24

25

26   28
       Katiraee et al., supra note 2.
     29
27     Vaibhav Sharda, “Where is Gerber baby food manufactured,” Chicago Food Whores, (Oct. 28,
     2021), https://www.chicagofoodwhores.com/where-is-gerber-baby-food-manufactured/ (last
28   accessed Dec. 21, 2021).


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                   15
          Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 17 of 61




 1   on GMO feed, such as milk, nonfat dry milk, cultured nonfat dry milk, milk protein isolate, milk

 2   protein concentrate, whole milk, cultured skim milk, butterfat, and calcium caseinate.30

 3                  (b)    Defendant’s Products Contain Ingredients Derived From GM-Crops And

 4   Therefore Are Not Non-GMO: As detailed below, Defendant’s Products contain numerous

 5   ingredients derived from GM crops. For instance, each of Defendant’s Products contains soy

 6   protein isolate, an ingredient derived from GM soybean. Most of Defendant’s Products also

 7   contain ingredients derived from GM soybean and sugar beets.

 8          41.     In addition to being derived from GMOs, many of the Products’ ingredients are also

 9   synthetic, chemically synthesized, and/or highly processed to the point where they no longer

10   resemble any natural source.      Thus, any food containing these synthetic and/or processed

11   ingredients cannot be called “Non-GMO.”

12          42.     Defendant’s Products contain, without limitation, one or more of the following

13   ingredients:

14                  •      Ascorbic Acid.     While ascorbic acid occurs naturally in certain foods,

15   ascorbic acid used as a source of Vitamin C in foods is not naturally-occurring. Rather, it is

16   synthesized industrially from glucose through a combined chemical-organic process known as the

17   Reichstein Process. The Reichstein Process uses the following steps: (a) hydrogenation of D-

18   glucose to D-sorbitol, an organic reaction with nickel as a catalyst under high temperature and high

19   pressure; (b) Microbial oxidation or fermentation of sorbitol to L-sorbose with acetobacter at pH 4-

20   6 and 30º C; (c) protection of the 4 hydroxyl groups in sorbose by formation of the acetal with

21   acetone and an acid to Diacetone-L-sorbose (2,3:4,6-Diisopropyliden-α-L-sorbose); (d) organic

22   oxidation with potassium permanganate followed by heating with water to yield 2-Keto-L-gulonic

23   acid; and I a ring-closing step or gamma lactonization with removal of water. As a food ingredient,

24

25   30
       See “Frequently Asked Questions,” https://thinkproducts.com/en-us/faqs/ (noting that its whey
26   proteins derive from cows raised on feed derived from GM-corn: “[The non-GMO project] requires
     that dairy cows not consume any genetically modified corn, … [and because it contains whey
27   protein], our Lean Protein & Fiber product is not NGP-verified”) (last visited Oct. 28, 2021); see
     also id. (“[T]he non-GMO project does not recognize the dairy proteins used in our bars as NGP
28   verifiable.”).


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     16
          Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 18 of 61




 1   ascorbic acid typically is derived from corn-based glucose.31        Upon information and belief,

 2   Plaintiff alleges that ascorbic acid found in the Products is derived from GM corn.

 3                  •      Assorted Dairy Ingredients and Products (including lactose, nonfat dry

 4   milk, cultured whey proteins, whole milk, etc.). The United States currently devotes nearly 75

 5   million acres of land to the production of soybeans, most of which are fed to animals. Similarly,

 6   much of the nation’s 80 to 90 million acres of corn is fed to livestock. Since 85 to 95% of these

 7   crops are GMO, it is safe to assume – unless provided proper certification – that “normal” dairy

 8   products contain GMO ingredients in one form or another. Thus, unless a product is USDA

 9   Certified Organic or has a Project Non-GMO Verified seal, “ALL dairy products can be assumed

10   to come from commercial/industrial dairy sources (CA–O - concentrated animal feeding

11   operations) whose cows are typically fed GM-corn, cottonseed, alfalfa[,] or soybean feed.”32

12   31
        Notably, “[o]ver 90% of ascorbic acid in this country is manufactured at a facility in Nutley,
     New Jersey, owned by Hoffman-LaRoche, one of the world’s biggest drug manufacturers[.] …
13   Here ascorbic acid is made from a process involving cornstarch and volatile acids. Most U.S.
     vitamin companies then buy the bulk ascorbic acid from this single facility. After that, marketing
14   takes over. Each company makes its own labels, its own claims, and its own formulations, each
     one claiming to have the superior form of vitamin C, even though it all came from the same
15   place[.]” Chef Alain Braux, GMO 101, A Practical Guide, 89 (2014), available at
     https://play.google.com/books/reader?id=YeHXBQAAQBAJ&pg=GBS.PA2&hl=en (last visited
16   Oct. 28, 2021).
17       See also Powbab, “What is Ascorbic Acid Vitamin C?,”
     https://www.powbab.com/blogs/news/what-is-ascorbic-acid-vitamin-c (“[A]scorbic acid is
18   typically made from corn derivatives. Most corn in the US is genetically modified (GMO). Unless
     the product or corn is verified by the Non-GMO Project Verified, in almost all cases, it is
19   genetically modified. Genetic modification changes DNA structure, and this impacts our body
     when we consume it.”).
20   32
        See Chef Alain Braux, GMO 101, A Practical Guide: Potential Sources of Genetically
     Engineered Ingredients in Food, at 184, available at
21   https://play.google.com/books/reader?id=YeHXBQAAQBAJ&pg=GBS.PA2&hl=en. As Chef
     Alain Braux, award-winning executive chef and multiple award-winning food and health author,
22   further explained:
23           The United States currently devotes nearly 75 million acres of land to the production of
             soybeans, most of which are fed to animals. Similarly, much of the nation’s 80 to 90
24           million acres of corn is fed to livestock. Since 85 to 95% of these crops are GMO, it is safe
             to assume – unless provided proper certification – that “normal” dairy products contain
25           GMO ingredients in one form or another.
             In the United States more than 99% of farm animals come from factory farming.
26           Conventional cattle grown in [concentrated animal feeding operations (‘CAFOs’)] is fed
             what is called concentrated feed. It can mean any number of things, but the base food is
27           always a grain slurry, typically of GMO corn and corn byproducts, GMO soy and soy hulls,
             and other grains and cereals. CAFO nutritionists sometimes also include GM cotton
28           byproducts and GM sugar beets in their cows’ diet.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      17
          Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 19 of 61




 1                   •       Brown Sugar. Brown sugar can be made from either sugar beets, a GM

 2   crop, or contain caramel color from corn syrup, another GM crop.

 3                   •       Calcium Caseinate. Calcium caseinate is a protein derived from the casein

 4   in milk. Manufacturers produce calcium caseinate by changing the pH of cow’s milk to neutral or

 5   acidic. In this state, casein becomes insoluble in water; this allows manufacturers to isolate it from

 6   the other proteins in milk. After this separation, manufacturers combine casein with calcium

 7   hydroxide at high alkaline levels and dry the protein. Thus, while casein is natural, calcium

 8   caseinate is a synthetic additive. It is commonly used as a food additive in nutritional food, and it

 9   also acts as an emulsifier, thickener or stabilizer.33

10                   •       Casein. Casein is the name given to a larger group of proteins known as

11   phosphoproteins, which represent as much as 80 percent of the proteins in cows’ milk. It is a

12   white, tasteless, odorless protein precipitated from dairy milk by rennin. It is the basis of cheese

13   and is used to make plastics, adhesives, paints, and foods. All dairy products from bovines, and the

14   vast majority of these animals (including the cows from which the casein in Defendant’s Products

15   was derived34) are fed corn, soy, or cotton feed (all GM crops).

16                   •       Citric Acid. Citric acid was the first additive that was produced on a large

17   scale biotechnically. Most citric acid found in food is a commodity chemical produced by feeding

18   simple carbohydrates to Aspergillus niger mold and then processing the resulting fermented

19   compound. Citric acid-producing microorganisms grow on culture media that usually contain

20   molasses (which is derived from sugar beet, a GM crop) and/or glucose (which usually comes from

21   corn, another GM crop). Calcium hydroxide and sulfuric acid are often used in processing.35

22   Id. (emphasis added).
     33
23      See FoodAdditives.net, What is Calcium Caseinate in Food and Uses: A Protein and Calcium
     supplement (Jan. 6, 2020), https://foodadditives.net/emulsifiers/calcium-caseinate/ (last visited Oct.
24   28, 2021); see also Rafael Jimenez-Flores, Genetic Engineering of the Caseins to Modify the
     Behavior of Milk During Processing: A Review, 71 J. Dairy Sci. (1988), 2640,
25   https://www.journalofdairyscience.org/article/S0022-0302(88)79857-4/pdf.
     34
        See Frequently Asked Questions, https://thinkproducts.com/en-us/faqs/ (noting that its whey
26   proteins derive from cows raised on feed derived from GM-corn) (last visited Oct. 28, 2021).
     35
27      See Chef Alain Braux, GMO 101, A Practical Guide, 103 (2014); see also New Hope Network,
     Is citric acid natural (Dec. 19, 2004), available at https://www.newhope.com/ingredients-
28   general/is-citric-acid-natural (last visited Oct. 28, 2021).


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       18
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 20 of 61




 1                  •       Corn Starch. Corn starch is starch made from corn. As noted above,

 2   approximately 92% of corn grown in the United States is GMO. More specifically, corn starch is

 3   derived from the white endosperm at the heart of a corn kernel. To get to the endosperm, the

 4   kernels are processed to remove the outer layers and shell. The endosperms are then ground into a

 5   fine, white, gritty power.

 6                  •       Cultured Dairy Products include an assortment of dairy foods that have

 7   been fermented with lactic acid bacteria such as Lactobacillus, Lactococcus, and Leuconostoc.

 8                  •       Galacto-Oligosaccharides.         The industrial production of galacto-

 9   oligosaccharides (“GOS”) is achieved via ß-galactosidase catalyzed enzymatic trans-galactolysis.

10   The reaction results in a mixture of GOS factions, non-reacted lactose, glucose, and small amounts

11   of galactose as a by-product. The structure and degree of polymerization of GOS largely depends

12   on the enzyme facilitating the synthesis. Industrial GOS production is carried out by GRAS-or

13   QPS-certified enzymes.

14                  •       Inositol. Commercial production of inositol follows a two-step process in

15   which (1) phytic acid is extracted from plants, such as corn or rice, and (2) one of several chemical

16   processes is used to transform the phytic acid into inositol. The phytic acid is extracted by soaking

17   the vegetable material in a dilute acid solution, such as hydrochloric acid or sulfuric acid, and then

18   using filtration or another mechanical separation technique followed by precipitation using an

19   alkali reagent and additional mechanical separation. The extracted phytin is then converted to

20   inositol as the phytin is hydrolyzed with a strong sulfuric acid solution and then steamed pressured.

21   The result is a synthetic that is industrially manufactured.

22                  •       Mixed Tocopheryls (i.e., D-Alpha Tocopheryl Acetate) / Vitamin E. D-

23   Alpha Tocopheryl Acetate, a synthetic, water-soluble form of Vitamin E, is often found in

24   processed foods as a preservative.

25                  •       Soluble Corn Fiber. Soluble corn fiber, also referred to as corn

26   maltodextrin, is a non-digestible fiber made from GMO corn syrup, which is chemically

27   processed.   It is produced using enzymatic hydrolysis, a process that involves breaking the

28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       19
          Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 21 of 61




 1   chemical bonds of a molecule using enzymes.36 During this process, it is then heated, hydrolyzed,

 2   and filtered into a white tasteless powder. Commercially, soluble corn fiber used in food products

 3   to thicken processed foods like protein bars, cereals, baked goods, dairy products, and salad

 4   dressings, and as a sweetener in place of sugar.

 5                  •      Soy Lecithin. Soy lecithin, or lecithin, is a processed by-product of the

 6   production of soybean oil, which comes from GM soybean. It is derived from the sludge left after

 7   crude oil undergoes a degumming process. More specifically, to produce soybean oil, soybeans are

 8   ground into small fragments and then flakes. The flakes are then combined with hexane or another

 9   similar solvent. The resulting product is subjected to heat to remove the solvents. Clarified

10   soybean oil is then produced when the gum and water are mechanically separated from the crude

11   soybean oil. The waste sludge or gum left remaining is then dried to produce lecithin.

12                  •      Soy Oil. Soy or soybean oil is made by extracting oil from whole soybeans.

13   This process involves dehulling and crushing soybeans, adjusting the soybeans for moisture

14   content, and heating the soybeans to between 140-190 ºF. The soybeans are then rolled into flakes

15   which are then put in a percolation extractor and immerged with a solvent, normally hexane. The

16   hexane is then separate from the soybean oil in evaporators. The evaporated hexane is recovered

17   and returned to the extraction process.

18                  •      Soy Protein. Soy proteins derive from GM soybeans and are mainly used as

19   ingredients in formulated foods. It is made from soybean meal that has been dehulled and defatted.

20   Dehulled and defatted soybeans are processed into three kinds of high protein commercial

21   products: soy flour, soy protein concentrate (SPC), and soy protein isolate (SPI).37 As shown

22   below, each of Defendant’s Products lists one or both of the latter two forms of GMO soy protein

23   as a primary ingredient.

24   36
        See Healthline, Is Soluble Corn Fiber Good for You? Benefits and Side Effects (Mar. 18, 2021),
     https://www.healthline.com/nutrition/soluble-corn-fiber (last visited Oct. 28, 2021); see also Dr.
25   David Friedman’s Health Blog, Are You Eating Soluble Corn Fiber?,
     https://doctordavidfriedman.com/blog/are-you-eating-soluble-corn-fiber (last visited Oct. 28,
26   2021).
     37
27      See E.W. Lucas, et al., Soy Protein Products: Processing And Use, 125 J. Nutr (1995), 573S, at
     https://pubmed.ncbi.nlm.nih.gov/7884536/; see also G N Bookwalter, Soy Protein Utilization In
28   Food Systems, 105 Adv Exp Med Biol (1978), 749, at https://pubmed.ncbi.nlm.nih.gov/569429/.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                    20
          Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 22 of 61




 1                  •       Soy Protein Isolate (SPI). SPI is protein from GM soybeans that has been

 2   isolated from all the other ingredients in soy via chemical engineering.38 To do this, the soybeans

 3   are first washed with an acid and then neutralized in an alkaline solution. During this process, the

 4   soybean is chemically modified, processed, and filled with pesticides. Thus, SPIs “are genetically

 5   modified foods.”39 The extraction process often leaves behind residue from chemicals and metals

 6   like hexane or aluminum, and it also strips the powder of the zinc and iron typically present in

 7   soybean products. At the end of the entire SPI-making process, what remains is a dry powder that

 8   is about 90-95% protein and nearly carbohydrate- and fat-free. Additionally, SPI also contains

 9   phytates, also called anti-nutrients, which reduce the body’s ability to absorb iron and zinc. SPI

10   has been used since 1959 in foods for its functional properties. It is often used in products like

11   protein bars, flour, cereal, and meat and dairy alternatives.40

12                  •       Sucrose. Sucrose is obtained from sugar beets. The glucose and fructose

13   units are joined by an acetal oxygen bridge in the alpha-1 on the glucose and beta-2 on the fructose

14   orientation. To do this, the sugar beets are washed, sliced, and soaked in hot water to separate the

15   sugar-containing juice from the beet fiber.        The sugar-laden juice is purified, filtered, and

16   concentrated and then dried in a series of steps to crystalize and refine the material. . .

17                  •       Sugar. If not specifically identified on a product label as cane sugar, sugar

18   is derived from corn or sugar beet – both GM crops.

19                  •       Vegetable Glycerin.        Vegetable glycerin, also known as glycerol or

20   glycerine, can be derived from the refining of biofuels from corn or sugar beet, both GM crops. It

21   is produced commercially the hydrogenolysis of carbohydrates or from petrochemicals. In food

22
     38
23      Specifically, as the Product labels make clear, the SPI in Defendant’s Products is produced
     through enzymatic hydrolysis. See infra at ¶¶ 44-75 (product label images listing “Enzymatically
24   Hydrolyzed Whey Protein Isolate (From Cow’s Milk)” as ingredient in nutritional panel).
     39
        Eat This, Not That!, What is Soy Protein Isolate and Is It Bad For You? (Jan. 4, 2020),
25   https://www.eatthis.com/soy-protein-isolate/ (last visited Oct. 28, 2021) (“If you have an
     inflammatory condition or otherwise opt to stay away from GMO’s, you probably want to steer
26   clear of SPI.”).
     40
27      Id.; see also Women’s Health, “Soy Protein Isolate” Is In So. Many. Things. But Is It Healthy?
     (May 28, 2019), https://www.womenshealthmag.com/food/a27559289/soy-isolate-protein/ (last
28   visited Oct. 28, 2021).


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     21
          Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 23 of 61




 1   products, vegetable glycerin serves as a humectant, solvent, sweetener, and preservative, or as a

 2   filler in commercially prepared low-fat foods. Here, the vegetable glycerin contained in a number

 3   of think! Products “is derived from plant sources” (i.e., GM crops), and it “is used as a humectant

 4   (an ingredient used to preserve the moisture content of the bar) and to help maintain a soft texture

 5   in the core of the [Products].”41

 6                  •       Vitamin A Acetate. Vitamin A Acetate is a yellow, fat-soluble substance

 7   that is unstable in its pure alcohol form. Consequently, for commercial food production, it is

 8   chemically produced and administered as esters also known as retinyl acetate or palmitate.

 9                  •       Whey.        The byproduct of cheese-producing industries, cheese whey, is

10   considered as an environmental pollutant due to its high concentrations of biochemical oxygen

11   demand (“BOD”) and chemical oxygen demand (“COD”). As demand for milk-derived products is

12   increasing, it leads to increased production of whey, which poses a serious management problem.

13   To overcome this problem, various technological approaches have been employed to convert whey

14   into value-added products. These technological advancements have enhanced whey utilization and

15   about 50% of the total produced whey is now transformed into value-added products including but

16   not limited to whey powder, whey protein, and probiotics. Whey can be biotransformed into

17   proteinaceous feed and food-grade bioprotein/single cell protein through fermentation, directly

18   processed to obtain whey proteins, or transformed into bioactive peptides via enzymatic or

19   fermentation processes.42

20                  •       Whey Protein. Whey protein is made with the protein isolated from the

21   liquid by-product of cheese. Commercially produced whey protein from cow’s milk typically

22   comes in four major forms: whey protein isolate (“WPI”), whey protein concentrate (“WPC”),

23   whey protein hydrolysate (“WPH”), and native whey protein. WPCs are 29–89 percent protein by

24   weight. Several of Defendant’s Product labels list WPCs as a primary ingredient.

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26   41
        Frequently Asked Questions, https://thinkproducts.com/en-us/faqs/ (last visited Oct. 28, 2021).
     42
27      Jay Shankar Singh Yadav, Cheese whey: A potential resource to transform into bioprotein,
     functional/nutritional proteins and bioactive peptides, 33:6(1) Biotechnol. Adv. (2015), 756,
28   https://www.sciencedirect.com/science/article/abs/pii/S073497501530015X.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     22
         Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 24 of 61




 1           43.    Accordingly, Defendant’s Non-GMO Claims about its Products are deceptive and

 2   misleading to reasonable consumers.

 3           44.    For example, one of Defendant’s Products that was purchased by Plaintiff – “Gerber

 4   Good Start Soy 2 Powder Infant & Toddler Formula” – prominently represents that it is a “NON

 5   GMO” Product. However, the Product’s primary ingredient, corn maltodextrin (i.e., soluble corn

 6   fiber), is a chemically processed non-digestible fiber made from GMO corn syrup, which is derived

 7   from GM-corn. The Product also contains several other genetically modified ingredients, including

 8   vegetable oils derived from GM-soybean (i.e., soybean oil), as well as enzymatically hydrolyzed

 9   soy protein isolate, sucrose, soy lecithin, inositol, alpha-tocopheryl acetate, mixed tocopherols, and

10   citric acid:

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             45.    Similarly, Defendant’s “Gerber Good Start Soy Infant Formula” Products (including
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     powder, ready to feed, and concentrated liquid formats) prominently represent they are “NON
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     GMO” Products.       However, the Products contain several genetically modified ingredients,
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     including corn maltodextrin, soybean oil, enzymatically hydrolyzed soy protein isolate, sucrose,
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       23
           Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 25 of 61




 1   ascorbic acid, soy lecithin, inositol, alpha-tocopheryl acetate, and mixed tocopherols. The ready to

 2   feed, and concentrated liquid formats also contain cornstarch:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     24
           Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 26 of 61




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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                           25
           Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 27 of 61




 1           46.    Further, “Gerber Good Start Gentle Infant Formula” prominently represents that it is

 2   a “NON GMO” Product. However, the Product contains several genetically modified ingredients,

 3   including lactose, soy oil, whey protein concentrate, nonfat dry milk, ascorbic acid, soy lecithin,

 4   corn maltodextrin, inositol, alpha-tocopheryl acetate, mixed tocopherols, and B. lactis cultures:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        26
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 28 of 61




 1          47.    Likewise, Defendant’s “Gerber Good Start GentlePro Infant Formula” Products

 2   (including powder, ready to feed, and concentrate liquid formats) prominently represents that they

 3   are “NON GMO” Products.         However, the Products contains several genetically modified

 4   ingredients, including whey protein concentrate (from cow’s milk, enzymatically hydrolyzed and

 5   reduced in minerals), soy oil, lactose, and corn maltodextrin, as well as ascorbic acid, alpha-

 6   tocopheryl acetate, mixed tocopherols, and citric acid. The powder format also contains inositol,

 7   while the ready-to-feed and concentrated liquid formats also contain galacto-oligosaccharides, a

 8   prebiotic sourced from cow’s milk:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                   27
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 29 of 61




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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                        28
           Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 30 of 61




 1           48.       Defendant’s “Gerber Good Start GentlePro 2 Powder Infant Formula” prominently

 2   represents that it is a “NON GMO” Product. However, the Product contains several genetically

 3   modified ingredients, including whey protein concentrate (from cow’s milk, enzymatically

 4   hydrolyzed and reduced in minerals), soy oil, lactose, and corn maltodextrin, as well as ascorbic

 5   acid, citric acid, inositol, alpha-tocopheryl acetate, and mixed tocopherols:

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19           49.       Defendant’s “Gerber Good Start SoothePro Powder Infant Formula” prominently
20   represents that it is a “NON GMO” Product. However, the Product contains several genetically
21   modified ingredients, including corn maltodextrin, whey protein concentrate (from cow’s milk,
22   enzymatically hydrolyzed and reduced in minerals), and soy oil, as well as citric acid, alpha-
23   tocopheryl acetate, mixed tocopherols, soy lecithin, and lactobacillus reuteri (DSM 17938)
24   cultures (i.e., a cultured dairy product that has been fermented with lactic acid bacteria, specifically
25   lactobacillus):
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        29
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 31 of 61




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12          50.     Defendant’s “Gerber Good Start Gentle Supreme A2 Powder Infant Formula”

13   prominently represents that it is a “NON GMO” Product. However, the Product contains several

14   genetically modified ingredients, including lactose, soy oil, whey protein concentrate, and nonfat

15   dry milk (i.e., A2 beta (β)-casein milk protein from cow’s milk), as well as soy lecithin, corn

16   maltodextrin, lactobacillus reuteri (DSM 17938) cultures, inositol, alpha-tocopheryl acetate, mixed

17   tocopherols, and citric acid:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                    30
           Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 32 of 61




 1           51.   Similarly, “Gerber Good Start Gentle Supreme A2 Toddler Drink” prominently

 2   represents that it is a “NON GMO” Product. However, the Product contains several genetically

 3   modified ingredients, including nonfat dry milk (i.e., A2 beta (β)-casein milk protein from cow’s

 4   milk), lactose, and soy oil, as well as soy lecithin, lactobacillus reuteri (DSM 17938) cultures,

 5   mixed tocopherols, and alpha-tocopheryl acetate:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                  31
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 33 of 61




 1          52.     Defendant’s “Gerber Good Start Extensive HA Powder Infant Formula”

 2   prominently represents that it is a “NON GMO” Product. However, the Product contains several

 3   genetically modified ingredients, including corn maltodextrin, whey protein concentrate (from

 4   cow’s milk), and soy oil, as well as ascorbic acid, citric acid, inositol, alpha-tocopheryl acetate,

 5   mixed tocopherols, and B. lactis cultures:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     32
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 34 of 61




 1          53.     Defendant’s “Gerber Good Start Grow Powder Toddler Drink” prominently

 2   represents that it is a “NON GMO” Product. However, the Product contains several genetically

 3   modified ingredients, including nonfat dry milk, soy oil, soy lecithin, B. lactis cultures, and mixed

 4   tocopherols:

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            54.     Defendant’s “Gerber Supported Sitter 1st Foods, DHA & Probiotic Baby Cereal”
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     contains several genetically modified ingredients, including soy lecithin, B. lactis cultures, calcium
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     carbonate, ascorbic acid, and alpha tocopheryl acetate:
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       33
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 35 of 61




 1          55.     Defendant’s “Gerber Sitter 2nd Foods, Probiotic Oatmeal Banana Baby Cereal”

 2   prominently represents that it is a “NON GMO” Product. However, the Product contains several

 3   genetically modified ingredients, including B. lactis cultures, calcium carbonate, ascorbic acid, and

 4   alpha tocopheryl acetate:

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            56.     Likewise, “Gerber Sitter 2nd Foods, Probiotic Oatmeal Peach Apple Baby Cereal”
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     prominently represents that it is a “NON GMO” Product. However, the Product contains several
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     genetically modified ingredients, including B. lactis cultures, calcium carbonate, ascorbic acid, and
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     alpha tocopheryl acetate:
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      34
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 36 of 61




 1          57.     Defendant’s “Gerber Sitter 2nd Foods, Probiotic Rice Banana Apple Baby Cereal”

 2   prominently represents that it is a “NON GMO” Product. However, the Product contains several

 3   genetically modified ingredients, including soy lecithin, citric acid, B. lactis cultures, calcium

 4   carbonate, ascorbic acid, and alpha tocopheryl acetate:

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            58.     Defendant’s “Gerber Sitter 2nd Foods, Powerblend Probiotic Baby Cereal -
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     Oatmeal, Lentil, Carrots & Peas” prominently represents that it is a “NON GMO” Product.
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     However, the Product contains several genetically modified ingredients, including cornstarch,
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     maltodextrin, B. lactis cultures, calcium carbonate, ascorbic acid, and alpha tocopheryl acetate:
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        35
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 37 of 61




 1          59.     Defendant’s “Gerber Sitter 2nd Foods, Powerblend Probiotic Baby Cereal -

 2   Oatmeal, Lentil, Carrots & Apples” prominently represents that it is a “NON GMO” Product.

 3   However, the Product contains several genetically modified ingredients, including cornstarch,

 4   maltodextrin, B. lactis cultures, calcium carbonate, ascorbic acid, and alpha tocopheryl acetate:

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16          60.     Defendant’s “Gerber Oatmeal & Barley Apple Cinnamon Toddler Cereal”

17   prominently represents that it is a “NON GMO” Product. However, the Product contains several

18   genetically modified ingredients, including sugar, modified corn starch, ascorbic acid, lactic acid,

19   and alpha tocopheryl acetate:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        36
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 38 of 61




 1          61.     Defendant’s “Gerber Oatmeal & Barley Bananas & Cream Toddler Cereal”

 2   prominently represents that it is a “NON GMO” Product. However, the Product contains several

 3   genetically modified ingredients, including dry yogurt (containing cultured nonfat milk and nonfat

 4   milk from cows, which was heat treated after culturing), sugar, modified corn starch, lactic acid,

 5   and alpha tocopheryl acetate:

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15          62.     Defendant’s “Gerber Strong Puree Toddler Pouches – Banana, Blueberry, Purple

16   Carrot, Greek Yogurt, & Mixed Grains” prominently represents that it is a “NON GMO” Product.

17   However, the Product contains several genetically modified ingredients, including nonfat yogurt

18   containing cultured nonfat milk and cultured reduced lactose, as well as ascorbic acid and alpha

19   tocopheryl acetate:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                   37
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 39 of 61




 1          63.     Defendant’s “Gerber Strong Puree Toddler Pouches – Pear, Sweet Potato, Greek

 2   Yogurt, Oats, & Cinnamon” prominently represents that it is a “NON GMO” Product. However,

 3   the Product contains several genetically modified ingredients, including nonfat yogurt made from

 4   cultured nonfat milk and nonfat dry milk, as well as ascorbic acid and alpha tocopheryl acetate:

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15          64.     Defendant’s “Gerber Fruit & Yogurt Puree Toddler Pouches – Peaches & Cream”

16   prominently represents that it is a “NON GMO” Product. However, the Product contains several

17   genetically modified ingredients, including cultured lowfat milk, sugar, nonfat milk, ascorbic acid,

18   and alpha tocopheryl acetate:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       38
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 40 of 61




 1          65.     Defendant’s “Gerber Fruit & Yogurt Puree Toddler Pouches – Strawberry Banana”

 2   prominently represents that it is a “NON GMO” Product. However, the Product contains several

 3   genetically modified ingredients, including cultured lowfat milk, sugar, nonfat milk, ascorbic acid,

 4   lactic acid, and alpha tocopheryl acetate:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     39
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 41 of 61




 1          66.    Defendant’s “Gerber Lil’ Crunchies, Apple Sweet Potato Crawler Snack”

 2   prominently represents that it is a “NON GMO” Product. However, the Product contains several

 3   genetically modified ingredients, including whole grain yellow corn meal, degermed yellow corn

 4   meal, brown sugar, sugar, maltodextrin, nonfat dry milk, mixed tocopherols, and alpha tocopheryl

 5   acetate:

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            67.    Defendant’s “Gerber Lil’ Crunchies, Mild Cheddar Crawler Snack” prominently
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     represents that it is a “NON GMO” Product. However, the Product contains several genetically
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     modified ingredients, including degermed yellow corn meal, maltodextrin, cultured milk, butter fat,
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     calcium carbonate, mixed tocopherols, and alpha tocopheryl acetate:
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                    40
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 42 of 61




 1          68.    Defendant’s “Gerber Lil’ Crunchies, Veggie Dip Crawler Snack” prominently

 2   represents that it is a “NON GMO” Product. However, the Product contains several genetically

 3   modified ingredients, including degermed yellow corn meal, maltodextrin, sour cream solids (made

 4   of cultured cream and nonfat milk), calcium carbonate, mixed tocopherols, and alpha tocopheryl

 5   acetate:

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15          69.    Defendant’s “Gerber Lil’ Crunchies, Garden Tomato Crawler Snack” prominently

16   represents that it is a “NON GMO” Product. However, the Product contains several genetically

17   modified ingredients, including degermed yellow corn meal, maltodextrin, sugar, calcium

18   carbonate, mixed tocopherols, and alpha tocopheryl acetate:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                 41
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 43 of 61




 1          70.     Similarly, Defendant’s “Gerber Lil’ Crunchies, Ranch Crawler Snack” prominently

 2   represents that it is a “NON GMO” Product. However, the Product contains several genetically

 3   modified ingredients, including degermed yellow corn meal, maltodextrin, sour cream powder

 4   (made of cultured cream and nonfat milk), nonfat dry milk, sugar, cultured milk, calcium

 5   cardonate, mixed tocopherols, and alpha tocopheryl acetate.

 6          71.     Likewise, Defendant’s “Gerber Lil’ Crunchies, Vanilla Maple Crawler Snack”

 7   prominently represents that it is a “NON GMO” Product. However, the Product contains several

 8   genetically modified ingredients, including degermed yellow corn meal, maltodextrin, sour cream

 9   powder (made of cultured cream and nonfat milk), nonfat dry milk, sugar, cultured milk, calcium

10   carbonate, mixed tocopherols, and alpha tocopheryl acetate.

11          72.     Defendant’s “Gerber Teether Wheels, Apple Harvest Crawler Snack” prominently

12   represents that it is a “NON GMO” Product. However, the Product contains several genetically

13   modified ingredients, including whole grain yellow corn meal, mixed tocopherols, and alpha

14   tocopheryl acetate:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                42
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 44 of 61




 1          73.     Defendant’s “Gerber Garden Tomato Mealtime Harvest Bowl” prominently

 2   represents that it is a “NON GMO” Product. However, the Product contains several genetically

 3   modified ingredients, including canola oil, milk cultures, and whey from cow’s milk:

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16          74.     Defendant’s “Gerber Spanish Style Sofrito Mealtime Harvest Bowl” prominently

17   represents that it is a “NON GMO” Product. However, the Product contains several genetically

18   modified ingredients, including corn and canola oil:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                             43
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 45 of 61




 1           75.     Defendant’s “Gerber Pesto Mealtime Harvest Bowl” prominently represents that it

 2   is a “NON GMO” Product.           However, the Product contains several genetically modified

 3   ingredients, including canola oil, parmesan cheese made from cow’s milk, and whey from cow’s

 4   milk:

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19           76.     The presence of genetically modified ingredients in the Products renders
20   Defendant’s description of “NON GMO” false and misleading under an objective reasonable
21   consumer standard.
22                                     RULE 9(B) ALLEGATIONS
23           77.     Federal Rules of Civil Procedure, Rule 9(b) provides that “[i]n alleging fraud or
24   mistake, a party must state with particularity the circumstances constituting fraud or mistake.”
25   Fed. R. Civ. P. 9(b). To the extent necessary, as detailed in the paragraphs above and below,
26   Plaintiff has satisfied the requirements of Rule 9(b) by establishing the following elements with
27   sufficient particularity:
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                  44
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 46 of 61




 1          78.     WHO: Defendant made material misrepresentations and omissions of fact in the

 2   labeling, packaging, and marketing of the Products.

 3          79.     WHAT: Defendant made material misrepresentations and omissions of fact by using

 4   the terms “Non-GMO” in the labeling, packaging, and marketing of the Products. Defendant made

 5   these claims with respect to the Products even though the Products did not meet the requirements to

 6   make such claims.      Defendant’s misrepresentations and omissions were material because a

 7   reasonable consumer would not have purchased or paid as much for the Products if he or she knew

 8   that they contained false representations.

 9          80.     WHEN: Defendant made the material misrepresentations and omissions detailed

10   herein continuously throughout the Class Period.

11          81.     WHERE: Defendant’s material misrepresentations and omissions were made, inter

12   alia, on the labeling and packaging of the Products, on Defendant’s website at

13   https://www.gerber.com/, on the websites of authorized third-party retailers of the Products, on in-

14   store signage at brick-and-mortar locations of authorized third-party retailers of the Products, and

15   through Defendant’s various other advertisements.

16          82.     HOW: Defendant made written misrepresentations and failed to disclose material

17   facts on the labeling and packaging of the Products and on its website and other advertising.

18          83.     WHY:      Defendant engaged in the material misrepresentations and omissions

19   detailed herein for the express purpose of inducing Plaintiff and other reasonable consumers to

20   purchase and/or pay a premium for Products based on the belief that they were “Non-GMO.”

21   Defendant profited by selling the Products to millions of unsuspecting consumes nationwide.

22                                        CLASS ALLEGATIONS

23          84.     Class Definition. Plaintiff brings this action on behalf of a class of similarly

24   situated individuals, defined as all persons in the United States who, who, within the applicable

25   statute of limitations period, up to and including the date of final judgment in this action, purchased

26   any of the Products at issue (the “Class”).

27                  (a)     California Subclass.     Plaintiff Faith Norman also seeks to represent a

28   subclass of all Class members who, within the applicable statute of limitations period, up to an


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        45
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 47 of 61




 1   including the date of final judgment in this action, purchased any of the Products at issue in

 2   California (the “California Subclass”).

 3          85.     Excluded from the Class and California Subclass are persons who made such

 4   purchase for purpose of resale, Defendant and any entities in which Defendant has a controlling

 5   interest, Defendant’s agents and employees, the judge to whom this action is assigned, and

 6   members of the judge’s staff, and the judge’s immediate family.

 7          86.     Plaintiff reserves the right to amend the definition of the Class and Subclass if

 8   discovery or further investigation reveals that the Class or Subclass should be expanded or

 9   otherwise modified.

10          87.     Numerosity.    Members of the Class and Subclass are so numerous that their

11   individual joinder herein is impracticable. On information and belief, members of the Class and

12   Subclass number in the millions. The precise number of Class members and their identities are

13   unknown to Plaintiff at this time but may be determined through discovery. Class members may

14   be notified of the pendency of this action by mail and/or publication through the distribution

15   records of Defendant and third-party retailers and vendors.

16          88.     Commonality and Predominance. Common questions of law and fact exist as to all

17   Class members and predominate over questions affecting only individual Class members.

18   Common legal and factual questions include but are not limited to: whether Defendant warranted

19   the Products as “Non-GMO”; whether the Products contain genetically modified organisms;

20   whether Defendant breached these warranties; and whether Defendant committed the statutory and

21   common law violations alleged against them herein by doing so.

22          89.     Typicality. The claims of the named Plaintiff are typical of the claims of the Class

23   in that Plaintiff purchased one of Defendant’s Products in reliance on the representations and

24   warranties described above and suffered a loss as a result of that purchase.

25          90.     Adequacy.     Plaintiff is an adequate representative of the Class and California

26   Subclass because her interests do not conflict with the interests of the Class and Subclass members

27   she seeks to represent, they have retained competent counsel experienced in prosecuting class

28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                    46
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 48 of 61




 1   actions, and they intend to prosecute this action vigorously. The interests of the Class and Subclass

 2   members will be fairly and adequately protected by Plaintiff and her counsel.

 3            91.    Superiority. The class mechanism is superior to other available means for the fair

 4   and efficient adjudication of the claims of Class members. Each individual Class member may

 5   lack the resources to undergo the burden and expense of individual prosecution of the complex and

 6   extensive litigation necessary to establish Defendant’s liability. Individualized litigation increases

 7   the delay and expense to all parties and multiplies the burden on the judicial system presented by

 8   the complex legal and factual issues of this case. Individualized litigation also presents a potential

 9   for inconsistent or contradictory judgments. In contrast, the class action device presents far fewer

10   management difficulties and provides the benefits of single adjudication, economy of scale, and

11   comprehensive supervision by a single court on the issue of Defendant’s liability. Class treatment

12   of the liability issues will ensure that all claims and claimants are before this Court for consistent

13   adjudication of liability issues.

14            92.    Defendant has acted or failed to act on grounds generally applicable to the Class,

15   thereby making appropriate final injunctive relief with respect to the Class and Subclass as a

16   whole.

17            93.    Without a class action, Defendant will continue a course of action that will result in

18   further damages to Plaintiff and members of the Class and California Subclass and will likely

19   retain the benefits of its wrongdoing.

20            94.    Based on the foregoing allegations, Plaintiff’s claims for relief include those set

21   forth below.
                                              CLAIMS FOR RELIEF
22
                                                 COUNT I
23
                       Violations of California’s Unfair Competition Law (“UCL”),
24                       California Business & Professions Code §§ 17200, et seq.
                                  (On Behalf Of The California Subclass)
25
              95.    Plaintiff hereby incorporates by reference the allegations contained in all preceding
26
     paragraphs of this complaint.
27

28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       47
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 49 of 61




 1             96.    Plaintiff Norman brings this claim individually and on behalf of the members of the

 2   proposed California Subclass against Defendant.

 3             97.    Defendant is subject to California’s Unfair Competition Law, Cal. Bus. & Prof.

 4   Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair competition shall mean and

 5   include unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or

 6   misleading advertising[.]”

 7             98.    Defendant’s misrepresentations and other conduct, described herein, violated the

 8   “unlawful” prong of the UCL by violating the CLRA as described herein, the FAL as described

 9   herein, and Cal. Com. Code § 2607.

10             99.    Defendant’s misrepresentations and other conduct, described herein, violated the

11   “unfair” prong of the UCL in that its conduct is substantially injurious to consumers, offends public

12   policy, and is immoral, unethical, oppressive, and unscrupulous, as the gravity of the conduct

13   outweighs any alleged benefits.

14             100.   Defendant    violated   the   “fraudulent”   prong   of   the   UCL     by   making

15   misrepresentations about the Products at issue that were untrue and misleading, as described

16   herein.

17             101.   Plaintiff Norman and the California Subclass lost money or property as a result of

18   Defendant’s UCL violations because: (a) they would not have purchased the Products on the same

19   terms if the true facts were known about the product; (b) they paid a price premium for the

20   Products due to Defendant’s promises and warranties; and (c) the Products do not have the

21   characteristics as promised by Defendant.

22                                              COUNT II
23                       Violation Of California’s False Advertising Law (“FAL”),
                          California Business & Professions Code §§ 17500, et seq.
24                                (On Behalf Of The California Subclass)

25             102.   Plaintiff hereby incorporates by reference the allegations contained in all preceding

26   paragraphs of this Complaint.

27             103.   Plaintiff Norman brings this claim individually and on behalf of the members of the

28   proposed California Subclass against Defendant.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       48
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 50 of 61




 1          104.     California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.,

 2   makes it “unlawful for any person to make or disseminate or cause to be made or disseminated

 3   before the public in this state, … in any advertising device … or in any other manner or means

 4   whatever, including over the Internet, any statement, concerning … personal property or services,

 5   professional or otherwise, or performance or disposition thereof, which is untrue or misleading and

 6   which is known, or which by the exercise of reasonable care should be known, to be untrue or

 7   misleading.”

 8          105.     Defendant committed acts of false advertising, as defined by § 17500, by

 9   misrepresenting that the Products are “Non-GMO” products, when in fact they are not.

10          106.     Defendant knew or should have known, through the exercise of reasonable care, that

11   its Non-GMO Claims about the Products were untrue and misleading.

12          107.     Defendant’s actions in violation of § 17500 were false and misleading such that the

13   general public is and was likely to be deceived.

14          108.     Plaintiff Norman and the California Subclass lost money or property as a result of

15   Defendant’s FAL violations because: (a) they would not have purchased the Products on the same

16   terms if the true facts were known about the product; (b) they paid a price premium for the

17   Products due to Defendant’s promises and warranties; and (c) the Products do not have the

18   characteristics as promised by Defendant.
                                                COUNT III
19                  Violation Of California’s Consumers Legal Remedies Act (“CLRA”),
                                   California Civil Code §§ 1750, et seq.
20
                                  (On Behalf Of The California Subclass)
21          109.     Plaintiff hereby incorporates by reference the allegations contained in all preceding
22   paragraphs of this Complaint.
23          110.     Plaintiff Norman brings this claim individually and on behalf of the members of the
24   proposed California Subclass against Defendant.
25          111.     Plaintiff Norman and members of the Class are “consumers” within the meaning of
26   Cal. Civil Code § 1761(d) in that Plaintiff and the Class sought or acquired Defendant’s goods
27   and/or services for personal, family, or household purposes.
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      49
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 51 of 61




 1          112.    Defendant’s Products are “goods” within the meaning of Cal. Civil Code § 1761(a).

 2   The purchases by Plaintiff and the Class are “transactions” within the meaning of Cal. Civil Code §

 3   1761(e).

 4          113.    The acts and practices of Defendant as described above were intended to deceive

 5   Plaintiff and the Class as described herein, and have resulted, and will continue to result, in

 6   damages to Plaintiff and members of the Class. These actions violated, and continue to violate, the

 7   CLRA in at least the following respects: (a) Defendant’s acts and practices constitute

 8   representations deceiving that the Products have characteristics, uses, and/or benefits, which they

 9   do not have, in violation of Cal. Civil Code § 1770(a)(5); (b) Defendant’s acts and practices

10   constitute representations that the Products are of a particular standard, quality, or grade, when in

11   fact they are of another, in violation of Cal. Civil Code § 1770(a)(7); and (c) Defendant’s acts and

12   practices constitute the advertisement of the Products in question with the intent not to sell them as

13   advertised, in violation of Cal. Civil Code § 1770(a)(9).

14          114.    Defendant violated these provisions of the CLRA by misrepresenting that the

15   Products are “Non-GMO” products, when in fact they are not.

16          115.    Defendant knew or should have known, through the exercise of reasonable care, that

17   its Non-GMO Claims about the Products were untrue and misleading.

18          116.    Plaintiff Norman and the California Subclass suffered injuries caused by

19   Defendant’s CLRA violations because: (a) they would not have purchased the Products on the

20   same terms if the true facts were known about the product; (b) they paid a price premium for the

21   Products due to Defendant’s false and misleading promises and warranties; and (c) the Products do

22   not have the characteristics as promised by Defendant.

23          117.    Plaintiff Norman, on behalf of herself and all other members the California

24   Subclass, seeks an injunction prohibiting Defendant from continuing its unlawful practices in

25   violation of the CLRA.

26          118.    In compliance with the provisions of California Civil Code § 1782, Plaintiff sent

27   written notice to Defendant prior to filing this action on October 25, 2021, informing Defendant of

28   their intention to seek damages under California Civil Code § 1750. The letter was sent via


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       50
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 52 of 61




 1   certified mail, return request, advising Defendant that it was in violation of the CLRA and

 2   demanding that it cease and desist from such violations and make full restitution by refunding the

 3   monies received therefrom. The letter expressly stated that it was sent on behalf of Plaintiff and

 4   “all other persons similarly situated.” Accordingly, Plaintiff Norman, individually and on behalf of

 5   the proposed California Subclass, seeks monetary damages from Defendant as permitted by Civil

 6   Code § 1782(d) for Defendant’s violations of the CLRA.

 7                                           COUNT IV
 8                                   Breach Of Express Warranty
                      (On Behalf Of The Nationwide Class And California Subclass)
 9          119.    Plaintiff hereby incorporates by reference the allegations contained in all preceding
10   paragraphs of this complaint.
11          120.    Plaintiff Norman brings this claim individually and on behalf of the members of the
12   proposed Class and California Subclass against Defendant.
13          121.    Defendant, as the designer, manufacturer, marketer, distributor, and/or seller of the
14   Products at issue, expressly warranted that the Products as “Non-GMO,” among other
15   Misrepresentations.
16          122.    In fact, the Products are not “Non-GMO” as Defendant claims, because they contain
17   several ingredients derived from GMOs, and thus are not as marketed, advertised, and/or
18   warranted.
19          123.    As a result of Defendant’s false and/or misleading misrepresentations, including that
20   the Products are “Non-GMO,” the Products were defective and did not adhere to the express
21   warranty when first sold to Plaintiff and Class Members, and have not been repaired, replaced, or
22   otherwise remedied as originally warranted since the time of sale.
23          124.    By breaching its express warranty, Defendant has caused and continues to cause
24   these warranties to fail of their essential purpose.
25          125.    Plaintiff and Class Members have been injured and harmed as a direct and
26   proximate cause of Defendant’s breach of express warranty because: (a) they would not have
27   purchased the Products on the same terms if the true facts had been known at the point of purchase;
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     51
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 53 of 61




 1   (b) they paid a price premium for the Products due to Defendant’s false and misleading promises

 2   and warranties; and (c) the purportedly “Non-GMO” Products do not have the characteristics, uses,

 3   or benefits as promised by Defendant because they contain several ingredients derived from

 4   GMOs.

 5           126.   Plaintiff, individually and on behalf of the Class and California Subclass, seek all

 6   damages permitted by law, including compensation for the monetary difference between the

 7   Products as warranted and as sold, along with all other incidental and consequential damages,

 8   statutory damages, attorney’s fees, and all other relief allowed by law.

 9                                            COUNT V
10                        Breach Of The Implied Warranty Of Merchantability
                      (On Behalf Of The Nationwide Class And California Subclass)
11           127.   Plaintiff hereby incorporates by reference the allegations contained in all preceding
12   paragraphs of this complaint.
13           128.   Plaintiff Norman brings this claim individually and on behalf of the members of the
14   proposed Class and Subclass against Defendant.
15           129.   Defendant, as the designer, manufacturer, marketer, distributor, and/or seller of the
16   Products, impliedly warranted that the Products are “Non-GMO” when in fact they are not, among
17   other Misrepresentations.
18           130.   Defendant breached the warranty implied in the contract for the sale of the Products
19   because they could not pass without objection in the trade under the contract description, the goods
20   were not of fair average quality within the description, the goods were not fit for the ordinary
21   purposes for which such goods are used, and the goods do not conform to the promises or
22   affirmations of fact made on the label. As a result, Plaintiff and Class Members did not receive the
23   goods as impliedly warranted by Defendant to be merchantable.
24           131.   Plaintiff and Class Members purchased the Products in reliance upon Defendant’s
25   skill and judgment and the implied warranties of fitness for the purpose.
26           132.   The Products were not altered by Plaintiff or Class Members.
27           133.   The Products were defective when they left the exclusive control of Defendant.
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     52
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 54 of 61




 1          134.    Defendant knew that the Products would be purchased and used without additional

 2   testing by Plaintiff and Class Members.

 3          135.    As a result of Defendant’s false and/or misleading representation that the Products

 4   are “Non-GMO” (among other Misrepresentations), the Products were defectively designed and

 5   unfit for their intended purpose, and Plaintiff and Class Members did not receive the goods as

 6   warranted.

 7          136.    Plaintiff and Class Members have been injured and harmed as a direct and

 8   proximate cause of Defendant’s breach of implied warranty because: (a) they would not have

 9   purchased the Products on the same terms if the true facts were known about the Products at the

10   point of purchase; (b) they paid a price premium for the Products due to Defendant’s false and

11   misleading promises and warranties; and (c) the Products do not have the characteristics as

12   promised by Defendant.
                                             COUNT VI
13                                  Unjust Enrichment / Restitution
14                    (On Behalf Of The Nationwide Class And California Subclass)
            137.    Plaintiff hereby incorporates by reference the allegations contained in all preceding
15
     paragraphs of this complaint.
16
            138.    Plaintiff Norman brings this claim individually and on behalf of the members of the
17
     proposed Class and California Subclass against Defendant.
18
            139.    To the extent the Court determines it is necessary to do so, this claim is pled in the
19
     alternative to the other legal claims alleged in the complaint.
20
            140.    Plaintiff and Class Members conferred benefits on Defendant by purchasing the
21
     purportedly “Non-GMO” Products. Defendant was and should have been reasonably expected to
22
     provide Products that conform with the qualities listed on their labeling and packaging.
23
            141.    Defendant has been unjustly enriched in retaining the revenues derived from
24
     Plaintiff’s and Class Members’ purchases of the Products. Retention of those moneys under these
25
     circumstances is unjust and inequitable because Defendant misrepresented that the Products are
26
     “Non-GMO” products (among other Misrepresentations) at the time of sale. These Non-GMO
27

28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      53
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 55 of 61




 1   Misrepresentations caused injuries to Plaintiff and Class Members because they would not have

 2   purchased the Products if the true facts were known.

 3          142.    Defendant unjustly profited from the sale of the Products at inflated prices as a

 4   result of its false representations, omissions, and concealment of the true qualities of the Products.

 5   Defendant benefited at Plaintiff’s and Class Members’ expenses when it sold GMO-riddled

 6   Products that were inferior to the purportedly “Non-GMO” Products that Plaintiff and Class

 7   Members thought they were actually purchasing, yet the price they paid was the price for a “Non-

 8   GMO” Products that are 100% free of ingredients derived from GM crops or food sources,

 9   genetically engineered in a laboratory setting through the use of biotechnologies, or sourced from

10   animals that have been raised on GMO feed.

11          143.    As a proximate result of Defendant’s false representations, omissions, and/or

12   concealment of the true qualities of the Products, and as a result of Defendant’s resulting ill-gotten

13   gains, benefits, and profits, Defendant has been unjustly enriched at the expense of Plaintiff and

14   Class Members. It would be inequitable for Defendant to retain its ill-gotten profits without paying

15   the value thereof to Plaintiff and Class Members.

16          144.    There is a direct relationship between Defendant on the one hand, and Plaintiff and

17   Class Members on the other, sufficient to support a claim for unjust enrichment. Defendant

18   marketed and sold the Products with the false and misleading Misrepresentations that they were

19   “Non-GMO” on their labeling and packaging to improve retail sales, which in turn improved

20   wholesale sales. Conversely, Defendant knew that disclosure of the true and GMO-riddled nature

21   of the Products would suppress retail and wholesale sales of the Products, in turn suppressing the

22   demand for the Products, and would negatively impact the reputation of Defendant’s brand among

23   Class Members and consumers.

24          145.    Because Defendant’s retention of the non-gratuitous benefits conferred on them by

25   Plaintiff and Class Members is unjust and inequitable, Plaintiff and Class Members are entitled to

26   restitution for their unjust enrichment in the amount of Defendant’s ill-gotten gains, benefits, and

27   profits, including interest thereon. Accordingly, Plaintiff seeks, individually and on behalf of Class

28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       54
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 56 of 61




 1   and Subclass Members, an order requiring Defendant to disgorge its gains and profits to Plaintiff

 2   and members of the Classes, together with interest, in a manner to be determined by the Court.

 3                                          COUNT VII
 4                                  Negligent Misrepresentation
                     (On Behalf Of The Nationwide Class And California Subclass)
 5          146.    Plaintiff hereby incorporates by reference the allegations contained in all preceding
 6   paragraphs of this complaint.
 7          147.    Plaintiff Norman brings this claim individually and on behalf of the members of the
 8   proposed Class and California Subclass against Defendant.
 9          148.    As discussed above, Defendant misrepresented that the Products are “Non-GMO”
10   (among other misrepresentations), notwithstanding the fact that the Products do contain several
11   ingredients derived from GMOs and are therefore not, in fact, “Non-GMO” as their labeling and
12   packaging prominently states.
13          149.    At the time Defendant made these representations, Defendant knew or should have
14   known that these representations were false or made them without knowledge of their truth or
15   veracity. At an absolute minimum, Defendant negligently misrepresented as “Non-GMO” and/or
16   negligently omitted material facts about the Products at issue, namely that the Products do, in fact,
17   contain GMOs.
18          150.    Defendant had no reasonable grounds for believing that its representations were true
19   because Defendant failed to consistently ensure that it was able to produce the Products as free of
20   GMOs, as advertised.
21          151.    The negligent misrepresentations and omissions made by Defendant, upon which
22   Plaintiff and Class members reasonably and justifiably relied, were intended to induce, and actually
23   did induce, Plaintiff and Class Members to purchase the Products. In making these negligent
24   misrepresentations and omissions to Plaintiff and the Class, upon which Plaintiff and Class
25   Members reasonably and justifiably relied, Defendant intended to induce, and actually did induce,
26   Plaintiff and Class Members to purchase its “GMO-Free” Products.
27

28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      55
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 57 of 61




 1          152.   At all times herein, Plaintiff and Class Members were unaware of the falsity of

 2   Defendant’s statements.

 3          153.   Plaintiff and Class Members reasonably acted in response to the statements made by

 4   Defendant when they purchased the Products.

 5          154.   As a direct and proximate result of Defendant’s negligent misrepresentations and

 6   omissions regarding the true nature of the Products, Plaintiff and Class Members were injured.

 7   Specifically, Plaintiff and Class Members incurred economic harm as a result of Defendant’s

 8   negligent misrepresentations and/or omissions in that they would not have purchased the Products

 9   or would not have purchased them on the same terms, but for Defendant’s unlawful conduct

10   alleged herein. Accordingly, Plaintiff and Class Members are entitled to compensatory and/or

11   punitive damages in an amount to be proven at trial.

12                                          COUNT VIII
13                                             Fraud
                     (On Behalf Of The Nationwide Class And California Subclass)
14          155.   Plaintiff hereby incorporates by reference the allegations contained in all preceding
15   paragraphs of this complaint.
16          156.   Plaintiff Norman bring this claim individually and on behalf of the members of the
17   proposed Class and Subclass against Defendant.
18          157.   As discussed above, Defendant provided Plaintiff and Class Members with false or
19   misleading material information and failed to disclose material facts about the Products, including
20   but not limited to the fact that each of the purportedly “Non-GMO” Products do indeed contain
21   several ingredients derived from GMOs and are therefore not, in fact, “Non-GMO” as their
22   labeling and packaging prominently states. These misrepresentations and omissions were made
23   with knowledge of their falsehood.
24          158.   These misrepresentations and omissions made by Defendant, upon which Plaintiff
25   and Class Members reasonably and justifiably relied, were intended to induce, and actually
26   induced, Plaintiff and Class members to purchase the Products.
27

28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                    56
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 58 of 61




 1          159.       The fraudulent actions of Defendant caused damage to Plaintiff and Class and

 2   Subclass Members, who are entitled to damages and other legal and equitable relief as a result.

 3          160.       Further, as a result of Defendant’s willful and malicious conduct, punitive damages

 4   are warranted.

 5                                             COUNT IX
 6                                     Fraudulent Misrepresentation
                        (On Behalf Of The Nationwide Class And California Subclass)
 7          161.       Plaintiff hereby incorporates by reference the allegations contained in all preceding
 8   paragraphs of this complaint.
 9          162.       Plaintiff Norman brings this claim individually and on behalf of the members of the
10   proposed Class and California Subclass against Defendant.
11          163.       At all relevant times, Defendant was engaged in the business of manufacturing,
12   marketing, packaging, distributing, and selling the Products.
13          164.       Defendant, acting through its representatives or agents, delivered the Products to its
14   own distributors and various other distribution channels.
15          165.       Defendant willfully, falsely, and knowingly omitted various material facts regarding
16   the true nature, quality, and characteristics of the Products, namely pertaining to the “Non-GMO”
17   representation.
18          166.       Rather than inform consumers of the truth regarding the GMOs in the Products,
19   Defendant misrepresented the Products as “Non-GMO” at the time of purchase.
20          167.       Defendant made these material misrepresentations to boost or to maintain sales of
21   the Products, and to falsely assure purchasers that it is a company that cares about GMOs in foods,
22   as discussed throughout. The false representations were material to consumers, including Plaintiff,
23   because the representations played a significant role in the decision to purchase the Products.
24          168.       Plaintiff and Class members accepted the terms in purchasing the Products, which
25   were silent on the true quality, nature, and characteristics of the Products. Plaintiff and Class
26   members had no reasonable way of knowing of Defendant’s misrepresentation as to the Products,
27   and had no way of knowing that the misrepresentations were misleading.
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         57
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 59 of 61




 1           169.    Although Defendant had a duty, arising, in part, from its superior knowledge, to

 2   ensure that accuracy of the information regarding whether its ingredients were in fact genetically

 3   modified, it did not fulfill these duties.

 4           170.    Instead, Defendant misrepresented material facts partly to pad and protect its profits,

 5   as it saw that profits and sales were essential for its continued growth and to maintain and grow its

 6   reputation as a producer of Non-GMO foods. Such benefits came at the expense of Plaintiff and

 7   Class members.

 8           171.    Plaintiff and Class members were unaware of these material misrepresentations, and

 9   they would not have acted as they did had they known the truth. Plaintiff’s and Class members’

10   actions were justified given Defendant’s misrepresentations. Defendant was in the exclusive

11   control of material facts, and such facts were not known to the public.

12           172.    Due to Defendant’s misrepresentations, Plaintiff and Class members sustained

13   injury due to the purchase of Products that did not live up to their advertised and packaged

14   representations, especially those concerning the GMO-free representations. Plaintiff and Class

15   members are entitled to recover full or partial refunds for Products they purchased due to

16   Defendant’s misrepresentations, or they are entitled to damages for the diminished value of their

17   Products, amounts to be determined at trial.

18           173.    Defendant’s acts were done maliciously, oppressively, deliberately, and with intent

19   to defraud, and in reckless disregard of Plaintiff and Class member’s rights and well-being, and in

20   part to enrich itself at the expense of consumers. Defendant’s acts were done to gain commercial

21   advantage over competitors, and to drive consumers away from consideration of competitor’s

22   products, and to boost its reputation as a maker of Non-GMO foods. Defendant’s conduct warrants

23   an assessment of punitive damages in an amount sufficient to deter such conduct in the future.

24                                          REQUEST FOR RELIEF
25           WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seek
26   judgment against Defendant, as follows:
27
                     (a)     For an order certifying the nationwide Class and the California Subclass
28                           under Rule 23 of the Federal Rules of Civil Procedure and naming Plaintiff


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        58
         Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 60 of 61




 1                           as representative of the Class and of the California Subclass, and Plaintiff’s
                             attorneys as Class Counsel to represent the proposed Class and Subclass;
 2
                     (b)     For an order declaring that Defendant’s conduct violates the statutes
 3
                             referenced herein;
 4
                     (c)     For an order finding in favor of Plaintiff, the Class, and the Subclass on all
 5                           counts asserted herein;
 6                   (d)     For compensatory, statutory, and punitive damages in amounts to be
                             determined by the Court and/or jury;
 7

 8                   (e)     For prejudgment interest on all amounts awarded;

 9                   (f)     For an order of restitution and all other forms of equitable monetary relief;
10                   (g)     For injunctive relief as pleaded or as the Court may deem proper;
11
                     (h)     For an order awarding Plaintiff and members of the Class and California
12                           Subclass their reasonable attorneys’ fees and reimbursement of litigation
                             expenses and costs of suit; and
13
                     (i)     For such other and further relief as the Court may deem proper.
14

15                                               JURY DEMAND
             Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any
16
     and all issues in this action so triable as of right.
17

18   Dated: December 22, 2021                                Respectfully submitted,

19                                                           BURSOR & FISHER, P.A.
20
                                                             By:    /s/ L. Timothy Fisher
21
                                                             L. Timothy Fisher (State Bar No. 191626)
22                                                           Sean L. Litteral (State Bar No. 331985)
                                                             Julia K. Venditti (State Bar No. 332688)
23                                                           1990 North California Boulevard, Suite 940
                                                             Walnut Creek, CA 94596
24                                                           Telephone: (925) 300-4455
                                                             Facsimile: (925) 407-2700
25
                                                             Email: ltfisher@bursor.com
26                                                                  slitteral@bursor.com
                                                                    jvenditti@bursor.com
27
                                                             Attorneys for Plaintiff and the Putative Class
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         59
        Case 4:21-cv-09940-JSW Document 1 Filed 12/22/21 Page 61 of 61




 1            CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)

 2          I, L. Timothy Fisher, declare as follows:

 3          1.      I am an attorney at law licensed to practice in the State of California and a member

 4   of the bar of this Court. I am a partner at Bursor & Fisher, P.A., counsel of record for Plaintiff

 5   Faith Norman. Plaintiff Norman resides in San Jose, California. I have personal knowledge of the

 6   facts set forth in this declaration and, if called as a witness, I could and would competently testify

 7   thereto under oath.

 8          2.      The Complaint filed in this action is filed in the proper place for trial under Civil

 9   Code Section 1780(d) in that a substantial portion of the events alleged in the Complaint occurred

10   in the Northern District of California, as Plaintiff purchased the Products from brick-and-mortar

11   retail stores located within this District.         Additionally, Defendant advertised, marketed,

12   manufactured, distributed, and/or sold the Products at issue to Plaintiff in this District.

13          I declare under the penalty of perjury under the laws of the State of California and the

14   United States that the foregoing is true and correct and that this declaration was executed at Walnut

15   Creek, California this 22nd day of December, 2021.

16
                                                       /s/ L. Timothy Fisher
17                                                         L. Timothy Fisher
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       60
